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UNITED STATES DISTRlCT COURT
MIDDLE DISTRlCT OF FLORIDA

JACKSONVILLE DIVlSlON
TAURICE RICKS,
Plaintiff,
v. Case No. 3:16-cv-205-J-20PDB
ALLIED INTERSTATE, L.L.C. and
SYNCHRONY FINANCIAL,
Defendants.

0 R D E R

This cause is before this Court on Plaintit`f`s “Notice of Pending Settlement” (Dkt. 36). In
this pleading, Plaintiff explains that a settlement has been reached in this case.

Accordingly, it is so ORDERED:

l. The administrative closure of this case is lifted and it is re-opened;

2. Based on Plaintif`f`s “Notice of Pending Settlement” (Dkt. 36) this case is hereby
DISMISSED without prejudice, subject to the right of any party to move this Court, within
sixty (60) days hereol`, for the purpose of entering a Dismissal with Prejudice, a stipulated form
of Final Order or .ludgment, or on good cause shown, to reopen this case for further proceedings;
and

3. The Clerk is directed to close this case.

DONE AND ORDERED at Jacksonville, Florida, this v day of May, 2018.

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